                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 CASSIE McKENZIE,                                 )
                                                  )
               Petitioner,                        )
                                                  )
 v.                                               )        Nos: 3:07-cr-051
                                                  )             3:08-cv-230
                                                  )             (PHILLIPS/SHIRLEY)
                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
               Respondent.                        )


                                   JUDGMENT ORDER


        In accordance with the accompanying Memorandum, the motion to vacate, set aside

 or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED and this action is

 DISMISSED. All other pending motions are DENIED. Should the petitioner give timely

 notice of an appeal from this decision, such notice will be treated as an application for a

 certificate of appealability, which under the circumstances is DENIED.              The court

 CERTIFIES that any appeal from this action would not be taken in good faith and would

 be totally frivolous. Therefore, this court hereby DENIES the petitioner leave to proceed in

 forma pauperis on appeal.

        ENTER:
                                                        s/ Thomas W. Phillips
                                                      United States District Judge
 ENTERED AS A JUDGMENT
    s/ Patricia L. McNutt
    CLERK OF COURT


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